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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0509V
                                          UNPUBLISHED


    PATRICIA COOPER,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: September 18, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On April 8, 2019, Patricia Cooper filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination she received on
September 11, 2017. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

      On July 13, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On September 17, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $56,199.33
(comprised of $55,000.00 for pain and suffering and $1,199.33 for past unreimbursed out-
of-pocket expenses). Proffer at 1. In the Proffer, Respondent represented that Petitioner

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $56,199.33 (comprised of $55,000.00 for pain and suffering and
$1,199.33 for unreimbursed out-of-pocket medical expenses) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
PATRICIA COOPER,                    )
                                    )
            Petitioner,             )
                                    )    No. 19-509V
      v.                            )    Chief Special Master Corcoran
                                    )    ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On July 13, 2020, respondent filed a Rule 4(c) Report conceding that petitioner is entitled

to vaccine compensation for her Shoulder Injury Related to Vaccine Administration (“SIRVA”)

injury suffered following receipt of an influenza (“flu”) vaccination on September 11, 2017. On

July 13, 2020, a Ruling on Entitlement, adopting respondent’s recommendation, was issued.

          Based upon the evidence of record, respondent proffers that petitioner 1 should be

awarded $56,199.33. This is comprised of pain and suffering ($55,000.00) and past

unreimbursed out-of-pocket medical expenses ($1,199.33), and represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 2 Petitioner

agrees.




1
    Petitioner is a competent adult, therefore evidence of guardianship is not required in this case.
2
  Should Petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief.
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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through:
               a lump sum of $56,199.33 in the form of a check payable to petitioner. This
               amount represents compensation for all damages that would be available under 42
               U.S.C. § 300aa-15(a).

Petitioner agrees.

                                                   Respectfully submitted,

                                                   JEFFREY BOSSERT CLARK
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   DARRYL R. WISHARD
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   s/ JAMES V. LOPEZ
                                                   James V. Lopez
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Dated: September 17, 2020
